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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                )
RICARDO JOSE CALDERON-LOPEZ, )
                                )
             Plaintiff,         )
                                )
             v.                 )                      No. 19-cv-1851 (KBJ)
                                )
ANDREW M. SAUL, Commissioner of )
Social Security, 1              )
                                )
             Defendant.         )
                                )

               ORDER ADOPTING REPORT & RECOMMENDATION
                         OF MAGISTRATE JUDGE

       For the reasons stated in the accompanying Memorandum Opinion, it is hereby

       ORDERED that Magistrate Judge G. Michael Harvey’s Report and

Recommendation (ECF No. 23) is ADOPTED in its entirety. It is

       FURTHER ORDERED that Defendant’s Motion to Dismiss (ECF No. 20) is

GRANTED.



DATE: May 25, 2021                            Ketanji Brown Jackson
                                              KETANJI BROWN JACKSON
                                              United States District Judge




1
 Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Andrew M. Saul, who currently serves
as the Commissioner of Social Security, will be substituted for the prior Acting Commissioner, Nancy
A. Berryhill.
